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 6                       IN THE UNITED STATES DISTRICT COURT
 7                               FOR THE DISTRICT OF ARIZONA
 8   Katie Ogdon, an individual, on behalf of             No. 2:22-cv-00477-PHX-DLR
 9   herself and all others similarly situated,

10                  Plaintiff,                            [PROPOSED] ORDER
                                                          EXTENDING STAY
11          vs.
12
     Grand Canyon University, Inc., et al.,               Assigned to the Hon. Douglas L. Rayes
13
                    Defendants.
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16          The Court, having considered the parties’ Joint Status Report, and with good cause
17   appearing,
18          IT IS HEREBY ORDERED extending the stay until October 1, 2024. The Parties
19   shall file a joint status report no later than seven days prior to the end of the stay.
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